        Case 1:23-cv-03677-APM Document 38-2 Filed 07/12/24 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 HELENA WORLD CHRONICLE, LLC and
 EMMERICH NEWSPAPERS, INC.

                             Plaintiffs,         Case No. 1:23-cv-03677

 v.                                              HON. AMIT P. MEHTA

 GOOGLE LLC and ALPHABET INC.,

                             Defendants.



      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                      THE AMENDED COMPLAINT

       Upon consideration of Defendants’ Motion to Dismiss the Amended Complaint, it is

hereby ORDERED that the Motion is GRANTED, and Plaintiffs’ Amended Complaint is

dismissed with prejudice.


 Dated: ___________, 2024                          _____________________________
                                                          Hon. Amit P. Mehta
                                                    United States District Court Judge
